Case 1:22-cv-00105-DCN Document 18 Filed 09/08/22 Page 1 of 1

Susan Lynn Mimura

V. Renee Karel

Danielle M. Evans

Samantha Brookman

SUSAN LYNN MIMURA & ASSOCIATES, PLLC
Attorneys at Law

3451 E. Copper Point Drive, Suite 106

Meridian, Idaho 83642

Telephone: (208) 286-3140

Facsimile: (208) 286-3135

Filing E-mail: slm@idahoattys.com

Idaho State Bar No. 3033, 9050, 10366, Limited License 2/1/2022

Attorney(s) for Plaintiff

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

JEREMY MATTSON, Case No, 1:22-cv-00105-DCN

Plaintiff,
CERTIFICATE OF COMPLIANCE RE:

Vv. PLAINTIFE’S RESPONSE TO
DEFENDANTS’ FIRST SET OF
ARON STREIBEL, DANIEL VOGT, CITY OF DISCOVERY REQUESTS TO
CALDWELL, AND JOHN DOES 1-15, PLAINTIFF

Defendants,

I certify that on September 8", 2022, I served PLAINTIFF’S RESPONSE TO
DEFENDANTS’ FIRST SET OF DISCOVERY REQUESTS TO PLAINTIF®, in the manner

indicated:

a By Email to: tdw@nayilorhales.com; landon@naylorhales.com

atin, a
i .

ifs

SUSAN LYNN MIMURA
ISB No. 3033

NOTICE OF SERVICE RE: PLAINTIFE’S RESPONSE TO DEFENDANT’S FIRST SET

OF DISCOVERY REQUESTS TO PLAINTIFF ~i
Mattson vy, Stretbel, Vogt, City of Caldwell and John Does 1-15

1:22-CV-00105-DCN

